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AO 245B (CASDRev. 08/14) Judgment in a Petty Criminal Case

 

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
V. (For Offenses Committed On or After November 1, 1987)
Veronica L.amas-Herrera Case Number: 20-cr-02891-WVG

Jessica Janet Oliva

Defendant’s Attorney
REGISTRATION NO. 97145298

fF] -
The Defendant:

X] pleaded guilty to count(s) 1 of Superseding Information

L] was found guilty on count(s)

after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):

 

 

 

Count

Title & Section Nature of Offense Number(s)
$-1325; 182 Illegal Entry; Aiding and Abetting (Misdemeanor) Is

The defendant is sentenced as provided in pages 2 through 3 of this judgment.
(_] The defendant has been found not guilty on count(s)
&] Count(s) 1 and 2 of underlying Information are dismissed on the motion of the United States.
a Assessment : $10
See fine page L] Forfeiture pursuant to order filed , included herein.

IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
any material change in the defendant’s economic circumstances.

November 3. 2020

cme ma Date of Imposition of Sentence
FILED a

4 HON. William V. Gallo
NOV 03 2020 UNITED STATES DISTRICT JUDGE

 

 

 

 

 

 

CLERK US DISTRICT COURT
SOUTHERN DISTRICT OF CALIFORNIA
BY DEPUTY

 

 

 

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DEFENDANT: Veronica Lamas-Herrera Judgment - Page 2 of 3
CASE NUMBER: 20-cr-02891-WVG

IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
Time Served

Sentence imposed pursuant to Title 8 USC Section 1326(b).
The court makes the following recommendations to the Bureau of Prisons:

Od

(J The defendant is remanded to the custody of the United States Marshal.

(| The defendant shall surrender to the United States Marshal for this district:
C1 at P.M. on

 

() as notified by the United States Marshal.
qo The defendant shall surrender for service of sentence at the institution designated by the Bureau of
Prisons:
C]_ on or before
LJ as notified by the United States Marshal.
(1 as notified by the Probation or Pretrial Services Office.

 

 

 

 

 

RETURN
I have executed this judgment as follows:
Defendant delivered on to
at , with a certified copy of this judgment.
UNITED STATES MARSHAL
By DEPUTY UNITED STATES MARSHAL

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AO 2458 Judgment in Criminal Case
Sheet 5 — Criminal Monetary Penalties

 

Judgment — Page 3 of
DEFENDANT: Veronica Lamas-Herrera
CASE NUMBER: 20-cr-02891-WVG
FINE
The defendant shall pay a fine in the amount of $250 unto the United States of America.

This sum shall be paid immediately.
x as follows:

Pay a fine in the amount of $250.00 through the Clerk, U. S. District Court. The defendant shall pay the fine over
a period of 12 Months in monthly installments of at $20.83. These payment schedules do not foreclose the United
States from exercising all legal actions, remedies, and process available to it to collect the fine judgment at any
time. Until fine has been paid, the defendant shall notify the Clerk of the Court and the United States Attorney’s

Office of any change in the defendant’s mailing or residence address, no later than thirty (30) days after the
change occurs.

The Court has determined that the defendant does not __ have the ability to pay interest. It is ordered that:

X The interest requirement is waived.

____ The interest is modified as follows:

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